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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

     PEDRO CRUZ-PEÑA, on behalf of himself,
     individually, and on behalf of all others similarly
     situated,
                                                                   24 CV 6263 (PKC) (RML)
                              Plaintiff,

                - against-

     GREAT KITCHEN SUPPORT CORP., and
     CHRISTIAN DIAZ, individually,

                              Defendants.


                DECLARATION OF ANTHONY P. CONSIGLIO, ESQ.
     IN SUPPORT OF PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION,
                   DISCLOSURE OF CONTACT INFORMATION,
                      LEAVE TO DISTRIBUTE NOTICE, AND
              EQUITABLE TOLLING PURSUANT TO 29 U.S.C. § 216(b)

           I, Anthony P. Consiglio, an attorney duly admitted to practice in this Court, declare under

 the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and correct based

 upon my knowledge, information, and belief:

           1.       I am an attorney at Borrelli & Associates, P.L.L.C., and am counsel for Plaintiff

 Pedro Cruz-Pena and Opt-In Plaintiffs Dianelba Suriel and Amalia Godinez in this matter. I submit

 this Declaration in support of Plaintiffs’ motion for conditional certification, disclosure of contact

 information, leave to distribute notice, and equitable tolling, pursuant to 29 U.S.C. § 216(b).

           2.       On September 6, 2024, Plaintiff filed the Complaint in this action (ECF No. 1) on

 behalf of himself, individually, and on behalf of all other similarly situated employees against his

 former employers, Defendants Great Kitchen Support Corp. and Cristian Diaz, individually,1 for,




 1
     Sued herein with an incorrect spelling of his first name as Christian Diaz, individually.
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 inter alia, Defendants’ violations of the overtime provisions of the Fair Labor Standards Act

 (“FLSA”), as well as various provisions of the New York Labor Law and its supporting

 regulations.

        3.      To date, Plaintiff and two opt-in Plaintiffs have filed Consents To Join Collective

 Action. (ECF Nos. 4, 5, and 15).

        4.      On December 20, 2024, Defendants filed their Answer to the Complaint. (ECF No.

 16).

        5.      The parties’ counsel appeared for a Rule 16 conference before Magistrate Judge

 Levy on February 10, 2025. In advance of that conference, Plaintiffs’ counsel Brian Nettle and I

 each successively requested that Defendants consent to conditional certification of this action as a

 collective action, and I requested that Defendants’ counsel let me know of any grounds why

 Defendants would not consent. The parties then discussed Plaintiffs’ anticipated motion to certify

 this action as a collective action with the Court at the February 10, 2025 Rule 16 conference. After

 the conference, I followed up with Defendants’ counsel, again requesting consent to conditional

 certification or any grounds for opposing conditional certification. Defendants’ counsel replied

 and asked for an additional 10 days to consider the matter. Again, after the passage of 10 days,

 Defendants’ counsel did not have an answer. Consequently, I do not know whether Defendants

 intend to oppose this motion or not, and if so, on what grounds. I will follow up with Defendants’

 counsel once this motion is filed to renew my request that they consent to the motion without

 opposition and without the need for a determination by the Court.

        6.      A proposed FLSA collective action notice of pendency and consent to join form is

 attached hereto as Exhibit A.




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        7.      A proposed FLSA collective action notice of pendency reminder notice is attached

 hereto as Exhibit B.

        8.      A proposed text message, which will contain a link to the notice or reminder notice,

 as appropriate, located on our firm’s website, is attached hereto as Exhibit C.

        9.      A proposed email, which will contain the FLSA collective action notice of

 pendency, or reminder notice, when appropriate, as an email attachment, is attached hereto as

 Exhibit D.


 Dated: Garden City, New York
        February 20, 2025

                                               Respectfully submitted,

                                               BORRELLI & ASSOCIATES, P.L.L.C.
                                               Attorneys for Plaintiffs
                                               910 Franklin Avenue, Suite 205
                                               Garden City, New York 11530
                                               Tel. (516) 248-5550
                                               Fax. (516) 248-6027


                                       By:     __________________________________
                                                  Anthony P. Consiglio




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